Case 20-12043-CMG              Doc 510      Filed 01/29/24 Entered 01/29/24 11:59:06              Desc Main
                                           Document     Page 1 of 1



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
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                                                                Case No.:      ___________________
                                                                                    20-12043
In Re:
                                                                Chapter:                11
                                                                               ___________________
Log Storm Security, Inc.,
                                                                Hearing Date: ___________________
                                Debtor
                                                                Judge:              M.B. Kaplan
                                                                                ___________________



                                           STATUS CHANGE FORM

   Pursuant to D.N.J. LBR 9013-3, the undersigned notifies the court that the matter identified below
   has been:

                             ☐ Settled             ☐ Withdrawn

           App. to Appear Pro Hac Vice of Michael Gearin (ECF No.184) and Order Granting
   Matter: ___________________________________________________________________________

   App. (ECF No.189) as the representation of Amazon Web Service has concluded.
   __________________________________________________________________________________



         1/26/2024
   Date: ______________________                             /s/ David S. Catuogno
                                                            ________________________________
                                                            Signature




                                                                                                    rev.8/1/15
